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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 HYDRO SYSTEMS, INC., a California
 company,

 Plaintiff/Counterclaim Defendant,              Civil Action No.
                                                1:23-cv-03492-VMC
 v.

 FACTORY AUTOMATION
 SYSTEMS, INC., a Georgia company,

 Defendant/Counterclaim Plaintiff.

                            OPINION AND ORDER

      This matter is before the Court on cross-motions for partial summary

judgment. (Docs. 29, 30). For the reasons that follow, the Court will grant

Defendant/Counterclaim Plaintiff Factory Automation Systems, Inc.’s (“FAS”)

motion and grant in part and deny in part Plaintiff/Counterclaim Defendant

Hydro Systems, Inc.’s (“Hydro Systems”) motion.

                                  Background1

I.    The Proposal

      On August 31, 2021, Hydro Systems accepted a proposal offered by FAS to

purchase two robotic systems to automate the sanding and polishing of bathtubs


1 The following facts are drawn from the parties’ respective Statements of Material

Facts. Citation to the relevant responsive statement without explanation or
clarification indicates the Court has deemed the underlying statement admitted.
For clarity and ease of reading, the Court omits quotation marks from admitted
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at Hydro Systems in McDonough, GA for a purchase price of $1,160,000.

(“Proposal,” Doc. 32-1 ¶ 1, Doc. 33-7 ¶ 16, Doc. 1-1). That same day, On August 31,

2021, Hydro Systems paid FAS $348,000, representing a down payment of 30% of

the total price. (Doc. 33-7 ¶ 17).

      The Proposal included a basis section with the following items:

             ➢ Each robot cell will be capable of bathtub models with
             maximum dimensions up to 36 inches wide by 72 inches
             long. For larger tubs, FAS must evaluate robot reach
             using the 3D models of each tub.

             ➢ As requested, our scope of work and pricing is based
             on programming twelve unique tub models. For
             reference, each of the three sizes within the Alamo family
             will require its own robot program.

             ➢ The sanding process will use three sandpaper grits of
             220, 400, and 1000.

             ➢ Gel coating will be manually applied after the sanding
             process and before the polishing process. FAS has no
             scope of work related to gel coat application.

             ➢ The polishing process will use two buffing
             compounds.

             ➢ Hydro Systems will provide 3D models for every tub
             to be programmed.

(Doc. 1-1 at 1). The scope of work summary excluded the following:




statements that are reproduced in this Order. Citations to the Proposal and the
parties’ respective briefs are to the internal pagination, rather than the ECF header
stamps, unless indicated otherwise.
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               Tub locating fixtures are not currently included in the
               scope of work/pricing. FAS will require 3D models of
               each tub in order to quote the tub fixtures.

               Parts introduced into each system must be consistent
               with an “ideal” or nominal part. Parts that are out- of-
               range will cause system faults and production stoppage.

               These robot systems will process tubs to a more
               consistent finish in less time than manual labor, but there
               are no provisions for correcting issues from the molding
               process or repair/rework process.

(Id.). These exclusions were clarified in Appendix A, Rev. 4:

           • Gel coating not included within scope of work (“SOW”).
             Is Hydro going to be performing gel coating?

               Correct – Gel Coating is outside the scope of this
               project.

               ....

           • There are no provisions for correcting issues from the
             molding process or repair/rework process. What
             happens if there is an issue? Who is responsible for
             remedying the issue and who is liable for the cost?

               Quality issues from the molding or repair processes
               cannot be overcome by the sanding robot. These types
               of issues are outside our control and clearly not in our
               scope of work. Repairs need to meet Hydro Systems’
               quality standards before a tub is loading into the
               sanding robot system.

(Id. at 10).

       The Proposal stated that “[t]he system will be ready for [testing] in

approximately 24-28 weeks after receipt of order and down payment.” (Id. ¶ 21).

Approximately 24-28 weeks after the order and down payment would fall
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between February 15 and March 15, 2022. (Id. ¶ 22). More than 36 weeks after the

order and down payment, on May 10, 2022, neither robot was complete or ready

for testing. (Id. ¶ 23). In an email on May 11, 2022, FAS told Hydro Systems that

the Polishing Robot could be in “near production-ready condition” at FAS the

week of June 6, and that the Sanding Robot “can potentially be deployed in your

facility approximately 30-days after the Polishing Cell is installed and operating.”

(Id. ¶ 24).

       The Proposal called for two testing phases, with criteria for the tests to be

agreed upon later during the design and engineering phases. (Doc. 1-1 at 4–5). The

first, Factory Acceptance Testing (FAT), was to be employed in FAS’s shop prior

to delivery to Hydro Systems’ facility:

              During the design and engineering phases, the FAS
              project manager will work with Hydro Systems to
              establish the Factory Acceptance Test criteria. FAS will
              stage the system and test performance in our shop. Then
              during the FAT, the Hydro Systems team will have the
              opportunity to inspect the hardware and observe the
              system in operation.

(Id. at 4). The second, Site Acceptance Testing, would occur at Hydro System’s

facility: “Site acceptance criteria will be agreed upon by FAS and Hydro Systems

during the engineering phase of the project.” (Id. at 5). Under the Proposal, 10% of

the purchase price was due within thirty days of the “[c]ompletion of FAT at FAS,”

and another 10% within thirty days of the “[c]ompletion of [s]tart-up at Hydro


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Systems’ facility,” which was “not to exceed 30 days from shipment.” (Doc. 33-7 ¶

83).

II.    Proposal Terms and Conditions

       The Proposal ends with a list of Terms and Conditions. Provisions relevant

to this case include the following:

             10) LIMITATION OF LIABILITY: Factory Automation
             Systems will at Purchaser’s request submit Certificates of
             Insurance from companies chosen by Factory
             Automation Systems showing our limits of coverage.
             Factory Automation Systems agrees to indemnify and
             save harmless Purchaser only against liability imposed
             on Purchaser by law with respect to bodily injury or
             property damage to the extent such liability results from
             the performance of Factory Automation Systems under
             this contract. Factory Automation Systems does not
             agree to indemnify and save Purchaser harmless except
             as set forth herein. Purchaser agrees to indemnify and
             save harmless Factory Automation Systems for all loss,
             cost or damage incurred by Factory Automation Systems
             as a result of Purchaser’s or third parties’ misuse or
             misapplication of Factory Automation Systems supplied
             products. In no event, regardless of cause, shall Factory
             Automation Systems be liable for incidental or
             consequential damage either real or alleged.

             11) WARRANTY: Factory Automation Systems passes
             manufacturer warranties to Purchaser for hardware and
             packaged software used in our systems. Our integration
             services, including engineering, software, wiring work
             and documentation are warranted to be free from defects
             for a period of one year from delivery. FACTORY
             AUTOMATION SYSTEMS’ WARRANTY IS LIMITED
             TO REPAIR OR REPLACEMENT OF THE DEFECTIVE
             WORK AT OUR OPTION AND IN NO WAY
             INCLUDES INCIDENTAL OR CONSEQUESTIAL

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                 DAMAGES. FACTORY AUTOMATION SYSTEMS
                 MAKES NO OTHER REPRESENTATION OR
                 WARRANTY OF ANY KIND, EXPRESSED OR
                 IMPLIED, AS TO THE MERCHANTABILITY, FITNESS
                 FOR PURPOSE OR OTHER MATTER WITH RESPECT
                 TO ANY OF THE GOODS OR SERVICES.

(Doc. 1-1 at 8–9). The Proposal also has an Appendix which includes revisions to

the terms, including the following:

               • Limitation of Liability – Propose making the limitation of
                 liability re incidental or consequential damages mutual.
                 Proposed language “In no event, regardless of cause,
                 shall either party be liable to the other, for incidental or
                 consequential damage, either real or alleged.”

                 Agreed

(Id. at 11).

                 The Integration Services warranty will be extended to 24
                 months on this initial purchase order from Hydro
                 Systems. Future projects will revert to the standard 12-
                 month warranty, or Hydro Systems can purchase an
                 extended warranty. Other than the adjustment to
                 Integration Services, the remainder of Article 11 in the
                 FAS Terms and Conditions is unchanged.

(Id. at 12).

III.   Development and Deployment of the Robots

       In June 2022, before delivering the Polishing Robot, FAS invited Hydro

Systems to observe testing at FAS (Doc. 33-7 ¶ 27). Hydro Systems’ Vice President

Kevin Steinhardt attended this testing in person on June 9, 2022. (Doc. 33-7 ¶¶ 2,

28). FAS contends that this test constituted the FAT for the Polishing Robot, which


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Hydro Systems disputes. (Doc. 45 ¶ 35). Brian Hiltz, the Director of Management

and Resource Planning at FAS, oversaw the presentation. (Affidavit of Brian Hiltz

dated April 8, 2024, “Hiltz Aff.,” Doc. 33-4 ¶¶ 2, 8). During this visit to FAS, Kevin

Steinhardt asked FAS about the possibility of alarms to notify Hydro Systems of

faults when the systems run unattended overnight, or “lights out.” (Doc. 33-7 ¶

29).

       During the presentation, the polishing spindle fell off the Polishing Robot

while it was operating, and a polishing tool rubbed against the tub. (Id. ¶ 30).

However, according to Mr. Hiltz’s account of the presentation, Mr. Steinhardt

indicated that he was pleased with the results and raised no issue regarding the

finished tub quality. (Hiltz Aff. ¶¶ 9–10).2 Hydro Systems did not sign any

approval or acceptance during this June 9, 2022 testing attempt. (Doc. 33-7 ¶ 31).

But Hydro Systems did instruct FAS to ship and install the Polishing Robot, even



2 Hydro Systems’ personal knowledge objection (Doc. 45 ¶ 36) is overruled
because Mr. Hiltz averred that he oversaw the demonstration. (Hiltz Aff. ¶ 8).
Hydro Systems’ hearsay objection is overruled because Mr. Hiltz testified about a
statement Mr. Steinhardt made in the scope of his employment relationship with
Hydro Systems. Fed. R. Evid. 801(d)(2)(D). Mr. Steinhardt offered his own
declaration in connection with the motions (Doc. 30-4) and could have
supplemented his testimony by disputing that Mr. Hiltz was present, by denying
that he indicated that he was pleased, or by denying that he raised no issue
regarding the finished tub quality. Instead, Mr. Steinhardt only testified that he
“did not consider the Polishing Robot complete at this time,” which does not create
a fact dispute as to what he said at the demonstration. (Doc. 30-4 ¶ 40).

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though Hydro Systems had only provided FAS with three of the twelve tub

models for testing. (Id. ¶ 37).3 As a result, despite the fact that the Proposal stated

that “FAS will program twelve designated tub models for both sanding and

polishing” and that the “scope of work and pricing is based on programming

twelve unique tub models,” when the Polishing Robot arrived at Hydro Systems,

it was only programmed to process three models. (Doc. 33-7 ¶¶ 34–35). As to those

three models, the Parties dispute whether the Polishing Robot functioned poorly

and if so whether the fault was on Hydro Systems for utilizing a process that

differed from what was described and sampled. (Doc. 33-7 ¶ 36). Nonetheless, all

of the models had to be reprogrammed several times. (Doc. 33-7 ¶ 37). In any case,

FAS delivered the Polishing Robot to Hydro Systems on approximately June 20,

2022, 42 weeks after the order and down payment. (Doc. 33-7 ¶ 25).

      Shortly after that, FAS’s Project Manager Scott Seitz called Mr. Steinhardt to

schedule a FAT for the sanding robot on June 21, 2022. (Affidavit of Scott Seitz




3 Hydro Systems’ hearsay objection is overruled for the reasons the Court gave in

note 2. Additionally, to the extent that Hydro Systems contends that Mr. Hiltz’s
testimony itself constitutes hearsay, the Court “may consider a hearsay statement
in passing on a motion for summary judgment if the statement could be reduced
to admissible evidence at trial or reduced to admissible form.” Macuba v. Deboer,
193 F.3d 1316, 1323 (11th Cir. 1999). Hydro Systems does not contend that Mr. Hiltz
would be unable to testify at trial.

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dated April 8, 2024, “Seitz Aff.” Doc. 33-3 ¶ 39).4 Mr. Steinhardt declined to attend

and opted to have FAS ship the robot to Hydro Systems instead. (Id.).

      Hydro Systems sent FAS an email dated July 5, 2022 stating that

             “the tubs are all coming out with scratches on them. The
             scratches are in a specific pattern and clearly coming
             from the robot . . . . It is clear to me that that these tubs
             were not closely inspected when you tested them at your
             place . . . when inspected closely all the scratches can be
             seen. We are now stuck doing R&D instead of producing
             product.

(Doc. 33-7 ¶ 38).

      FAS delivered the Sanding Robot to Hydro Systems5 on approximately July

11, 2022, 45 weeks after the order and down payment. (Doc. 33-7 ¶ 26). The Parties

likewise dispute whether the Sanding Robot was incomplete and whether it

performed poorly, and whether any functionality problems with the Standing

Robot were the fault of Hydro Systems. (Id. ¶ 39). The Proposal stated that “[t]he

system will include an automatic sandpaper exchange system to accommodate

three grits of sandpaper,” but when it was delivered, the Sanding Robot had no




4 Hydro Systems’ hearsay objection to Mr. Seitz’s affidavit (Doc. 45 ¶ 38) is
overruled for substantially the same reasons the Court gave in notes 2 and 3,
above. The remainder of Hydro Systems’ objection that Mr. Seitz’s statement “is a
conclusory allegation without specific supporting facts, documentation, or record
evidence” goes to weight, not admissibility.

5 The Court assumes the reference to FAS delivering the robot to FAS was a

typographical error.
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automatic sandpaper exchange. (Id. ¶ 40–41). FAS contends that the parties

mutually departed from this portion of the Proposal at an October 18, 2021

meeting by agreeing to replace the sandpaper exchange system in the Proposal

with a tool that exchanges the entire spindle rather than just the paper. (Seitz Aff.

¶ 12). The Proposal’s list of “Deliverables” from FAS also included a “Robot End-

of-Arm Tool” described as a vacuum hose to connect sander to Hydro Systems-

supplied vacuum collection system.” (Doc. 33-7 ¶ 43). Hydro Systems purchased

a vacuum system for this purpose, but the Sanding Robot did not have (and has

never had) a vacuum hose. (Id. ¶ 44). FAS contends that the Parties agreed to

remove the vacuum hose connection from the scope as part of the changes at the

same October 2021 meeting. (Seitz Aff. ¶ 13).

      By July 2022, almost a full year after Hydro Systems paid the down payment

to FAS, FAS had programmed only five models into the robots. (Id. ¶ 45). Mr.

Steinhardt contends that even these five models did not work correctly, but FAS’s

President Jim Pursley blames Hydro Systems for providing samples that differed

from their manufacturing process, among other reasons. (Affidavit of Jim Pursley

dated April 8, 2024 “Pursley Aff.,” Doc. 33-5 ¶¶ 2, 5).

      By email dated July 26, 2022, Hydro Systems informed FAS of the following:

             a. “The [Proposal] calls for the programming of twelve
             unique tub models. To date, 5 models have been
             programmed.”

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            b. “Robot was to use less time than manual labor. At
            25mm/sec, this doesn’t represent less time than we
            currently use.”

            c. “[W]e are a long way from operating in an efficient
            manner, and in a way that was represented in [the
            Proposal]. Please do not consider the robots to have
            passed Site Acceptance at this time until FAS can correct
            the [outstanding] issues.”

(Doc. 33-7 ¶ 47).6 By letter dated August 9, 2022, Hydro Systems notified FAS as

follows:

            a. “[T]o date, [FAS] has failed to provide an acceptable
            robotic system for sanding and polishing our bathtubs as
            proposed[.]”

            b. “The robot systems were to provide more consistent
            finish in less time than our manual process. To date, the
            finish is less consistent, and forcing us to do much
            rework[.]”

            c. “The PolishingBot, as programmed, will not even
            remove 1500 grit scratches. These scratches are being
            removed manually in our Detailing department. By
            comparison, an employee using a manual polishing
            buffer can remove 1000 grit scratches with minimal
            effort. This deems the investment in the PolishBot
            completely worthless.”

            d. “Hydro Systems has spent over $40,000 in rework
            costs, not to mention lost profits during the so-called
            start-up phase of the robots.”




6 FAS’s objection to Hydro Systems offering the email through Kevin Steinhardt is

overruled; Mr. Steinhardt laid the foundation for his personal knowledge. (Doc.
30-4 ¶ 49). The remaining objections are also overruled.
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(Id. ¶ 48).7

       Mr. Pursley responded in a letter to Mr. Steinhardt dated August 22, 2022.

(Doc. 30-4 at ECF pp. 92–100).8 The letter begins as follows:

               I am disheartened that our relationship has turned
               contentious. We have continually worked with Hydro on
               this project in the spirit of partnership. We have
               accommodated process changes and delays on items
               outside of our scope. We have made concessions on
               overages and scope changes and offered further
               concessions, all with the aim of building a partnership for
               the future. Despite the current situation, I am still
               hopeful that we can work together to solve the problems
               in front of us.

(Id. at 1). In the letter, Mr. Pursley breaks down Mr. Steinhardt’s points one by one

and responds at length. For example, he writes that “[a]ny delays are the result of

(1) Hydro’s failure to make all twelve tubs and associated fixtures available to FAS

for testing, (2) Hydro’s decision to apply the gel coating before sanding, and (3)

Hydro’s failure to perform dust collection, as specified in the Project Proposal.”

(Id. at 4). “Programming tubs at your facility,” he explained, “takes significantly

more time than if we would have received the tubs and fixtures to program the

tubs at our shop. We save the travel time, but more importantly, we have our tools

and resources, and we are not working around production schedules.” (Id.). The


7 Hydro Systems’ objection to Kevin Steinhardt laying the foundation for this

document is overruled for substantially the same reasons given in note 6, above.

8 The Court uses the letter’s internal pagination for subsequent citations.

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letter enumerates the following problems that Mr. Pursley asserted Hydro

Systems caused:

           In addition to Hydro’s failure to provide us with the
           necessary tubs and fixtures, there are two other problems
           that must be addressed. The first is Hydro’s decision to
           apply the gel coat prior to sanding. The second is the
           Hydro’s failure to collect the dust created by this process
           change. These issues lie at the root of many smaller issues
           raised throughout your letter. The process was discussed
           in depth with Hydro in the pre-sales cycle. As clearly
           stated in the proposal, ‘Gel coating will be manually
           applied after the sanding process and before the
           polishing process. FAS has no scope of work related to
           gel coat application’. . . . The tubs provided by Hydro for
           sanding have gel coating already applied. Sanding after
           gel coat is applied drastically changes the process. The
           result of these problems is:

           • Product quality implications. Sanding a tub to prepare
           for gel coat application is completely different than
           sanding after the gel coat is applied. The difference is
           similar sanding something before painting versus after a
           high shine paint is applied.

           • [Redacted] has also indicated that not removing dust
           between sanding grit passes may cause debris from one
           sanding pass to cause scratches on subsequent passes.
           Hydro is responsible for dust collection which to our
           knowledge has not been installed.

           • Reduced sanding pad life. The FAS application you
           reference from “YouTube” is sanding before gel coat is
           applied. These pads will last for multiple tubs. Sanding
           gel coat clogs the sanding pad and reduces the pad life.
           The lack of dust collection also affects the sanding pad
           life. Dust from previous sanding passed will fill the pad
           with dust (a.k.a. clogging) which reduces the pad life.


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                • Increased number of grits required. The “YouTube”
                referenced Sander uses 2 grits. Per Hydro’s request, as
                defined in the proposal, “The sanding process will use
                three sandpaper grits of 220, 400, and 1000”. Hydro has
                reported that the revised process requires a 6-grit
                progression to meet the desired quality. These additional
                grits that are allegedly required are related to the process
                change.

                • Explosive dust hazard. The significant danger
                presented by this dust is addressed as a standalone topic
                below.

(Id. at 6–7).

       After threats of legal action and some back and forth, in September 2022,

FAS resumed work on programming. (Doc. 33-7 at 52). In November 2022, the

Polishing Robot went idle for a month, after the Sanding Robot smashed into the

tub it was sanding, breaking the tub. (Id. ¶ 53). FAS took components from the

Polishing Robot and installed them into the Sanding Robot, leaving the Polishing

Robot unusable while awaiting parts to replace those FAS had removed. (Id. ¶ 54).

Throughout the first seven months of 2023, FAS continued adjusting, testing, and

reprogramming the robots on Hydro Systems’ production floor. (Id. ¶ 55). In July

2023, FAS ceased working on the robots. (Id. ¶ 57). The Sanding Robot currently

does not function at all, as it has a bathtub stuck inside of it, making it non-

operational. (Id. ¶ 58).




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      Meanwhile, on March 21, 2022, Hydro Systems paid FAS $348,000, and on

June 15, 2022, Hydro Systems paid FAS an additional $232,000. (Id. ¶ 18). To date,

Hydro Systems has paid FAS a total of $928,000. (Id. ¶ 19).

                                   Legal Standard

      Federal Rule of Civil Procedure 56(a) provides “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” A factual

dispute is genuine if the evidence would allow a reasonable jury to find for the

nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is

“material” if it is “a legal element of the claim under the applicable substantive

law which might affect the outcome of the case.” Allen v. Tyson Foods, Inc., 121 F.3d

642, 646 (11th Cir. 1997).

      The moving party bears the initial burden of showing the court, by reference

to materials in the record, that there is no genuine dispute as to any material fact

that should be decided at trial. Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260

(11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). The moving

party’s burden is discharged merely by “‘showing’—that is, pointing out to the

district court—that there is an absence of evidence to support [an essential element

of] the nonmoving party’s case.” Celotex, 477 U.S. at 325. In determining whether

the moving party has met this burden, the district court must view the evidence


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and all factual inferences in the light most favorable to the party opposing the

motion. Johnson v. Clifton, 74 F.3d 1087, 1090 (11th Cir. 1996). Once the moving

party has adequately supported its motion, the non-movant then has the burden

of showing that summary judgment is improper by coming forward with specific

facts showing a genuine dispute. Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587 (1986). All reasonable doubts should be resolved in the favor of

the non-movant. Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993). In

addition, the court must “avoid weighing conflicting evidence or making

credibility determinations.” Stewart v. Booker T. Washington Ins., 232 F.3d 844, 848

(11th Cir. 2000). When the record as a whole could not lead a rational trier of fact

to find for the nonmoving party, there is no genuine dispute for trial. Fitzpatrick, 2

F.3d at 1115 (citations omitted).

      On cross-motions for summary judgment, “[t]he standard of review. . . does

not differ from the standard applied when one party files a motion, but simply

requires a determination of whether either of the parties deserves judgment as a

matter of law on the facts that are not disputed.” Loiseau v. Thompson, O’Brien, Kemp

& Nasuti, P.C., 499 F. Supp. 3d 1212, 1219 (N.D. Ga. 2020) (quoting GEBAM, Inc. v.

Inv. Realty Series I, LLC, 15 F. Supp. 3d 1311, 1315–16 (N.D. Ga. 2013)). “The Court

must consider each motion on its own merits, resolving all reasonable inferences

against the party whose motion is under consideration. Cross-motions may . . . be

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probative of the absence of a factual dispute where they reflect general agreement

by the parties as to the controlling legal theories and material facts.” Id. (citing U.S.

ex rel. Saldivar v. Fresenius Med. Care Holdings, Inc., 972 F. Supp. 2d 1339, 1341 (N.D.

Ga. 2013)).

                                      Discussion

      The Court first addresses FAS’s partial motion for summary judgment on

the issue of consequential damages and then turns to Hydro Systems’ motion on

liability and on FAS’s counterclaims.

I.    FAS’s Motion for Partial Summary Judgment

      FAS seeks partial summary judgment on the issue of Hydro System’s claim

for damages for “lost production, lost sales, wasted materials, increased labor

costs, lost time and productivity of Hydro Systems personnel . . . .” (Doc. 1 at 46)

on the grounds that such damages are incidental and consequential damages, and

therefore barred by the terms of the Proposal expressly exculpating both parties

from those damages. See Background § II, above. The Court agrees.

      A.      Consequential Damages in Sales Contracts

      Many a first-year law student has trudged through Hadley v. Baxendale

[1854] 156 Eng. Rep. 145, 145-46; 9 EX. 341, 341. That case involved a delay in

shipping a broken crankshaft to a factory which in turn led the affected miller to

seek “damages for their inability to supply their customers with flour during the


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period of delay.” Paul S. Turner, Consequential Damages: Hadley v. Baxendale

Under the Uniform Commercial Code, 54 SMU L. Rev. 655, 657 (2001). That case, in

barring such damages for lost profits, is often (rightly or wrongly) credited with

expounding the principle of consequential damages in contract. But see id. (“The

term ‘consequential damages’ does not appear anywhere in the court’s opinion.”).

      In any case, the distinction between proximate or direct and consequential

or indirect damages in contract has survived today. Under Georgia’s version of

the UCC,9 incidental and consequential damages are distinguished from the


9 The Proposal, which is governed by Georgia law (Doc. 1-1 at 9, 11), called for a

hybrid sales and services transaction which raises a question of whether and to
what extent Georgia’s UCC applies. O.C.G.A. § 11-2-106(5) (“‘Hybrid transaction’
means a single transaction involving a sale of goods and . . . [t]he provision of
services . . . .”). Under Georgia law, in a hybrid transaction “[i]f the sale-of-goods
aspects predominate, [the UCC] applies to the transaction but does not preclude
application in appropriate circumstances of other law to aspects of the transaction
which do not relate to the sale of goods.”). O.C.G.A. § 11-2-102(2)(b). Upon review
of the Proposal, it appears that only $33,200 of the $1,160,000 purchase price is
specifically earmarked for installation, which implies that the sale of goods aspect
predominates. See J. Lee Gregory, Inc. v. Scandinavian House, L.P., 433 S.E.2d 687,
689–90 (Ga. Ct. App. 1993) (“What was the dominant purpose of the transaction in
the case sub judice? Was it the sale of goods or the rendition of services? It can
hardly be said that the sale of the windows was ‘incidental’ to the transaction.
Rather it would appear that the rendition of services was the incidental factor.
After all, approximately two-thirds of the cost of the transaction was allocated to
the windows. . . . Thus, we think the predominant character of the transaction was
the sale of goods, even though a substantial amount of service was involved in
installing the goods. The mere fact that Scandinavian House would not have
purchased the windows unless plaintiff installed them is of no consequence”).
Moreover, the services aspect of the Proposal seems limited to setup and
deployment and the Proposal does not appear to contemplate an ongoing services
relationship. (Doc. 1-1 at 5). Lastly, both Parties cited the UCC in their briefing.
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default “measure of damages for nondelivery or repudiation by the seller,” which

“is the difference between the market price at the time when the buyer learned of

the breach and the contract price,” unless the buyer “‘cover[s]’ . . . by making in

good faith and without unreasonable delay any reasonable purchase of or contract

to purchase goods in substitution for those due from the seller,” in which case

damages are “the difference between the cost of cover and the contract price.”

O.C.G.A. §§ 11-2-712, -713. For goods that have been accepted, “[t]he measure of

damages for breach of warranty is the difference at the time and place of

acceptance between the value of the goods accepted and the value they would

have had if they had been as warranted, unless special circumstances show

proximate damages of a different amount.” O.C.G.A. § 11-2-714(2).

       All of these remedies provide that in addition to these direct or proximate

damages, the seller may also recover “incidental or consequential damages,”

which are defined by the U.C.C. as follows:

            (1) Incidental damages resulting from the seller’s breach
            include expenses reasonably incurred in inspection,
            receipt, transportation, and care and custody of goods
            rightfully rejected, any commercially reasonable charges,
            expenses, or commissions in connection with effecting
            cover, and any other reasonable expense incident to the
            delay or other breach.


(Doc. 29-1 at 5–6; Doc. 30-1 at 17). For these reasons, the Court concludes that the
Proposal is predominately a sale of goods and therefore the UCC applies.

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             (2) Consequential damages resulting from the seller's
             breach include:

                    (a) Any loss resulting from general or particular
                    requirements and needs of which the seller at the
                    time of contracting had reason to know and which
                    could not reasonably be prevented by cover or
                    otherwise; and

                    (b) Injury to person or property proximately
                    resulting from any breach of warranty.

O.C.G.A. § 11-2-715. In keeping with Hadley, Georgia considers lost profits and

production delays stemming from the sale of goods to be consequential damages.

Sunstate Indus., Inc. v. VP Grp., Inc., 679 S.E.2d 824, 828 n.9 (Ga. Ct. App. 2009); see

also B & D Carpet Finishing Co. v. Gunny Corp., 281 S.E.2d 354, 355 (Ga. Ct. App.

1981) (“Even prior to the enactment of the UCC provision, Georgia permitted the

recovery of the cost of paying idle labor and other items of special damage as

consequential damages flowing from a breach of contract.”).

      Hydro Systems’ reliance on Holiday Hospitality Franchising, LLC v. J&W

Lodging, LLC, No. 1:17-CV-01663-ELR, 2019 WL 3334614, at *7 (N.D. Ga. Mar. 7,

2019), which held that lost profits in a licensing agreement were actual damages

and not consequential damages, is misplaced. First, that case was not a sales

contract governed by the UCC, which strictly defines direct damages and

delineates them from indirect and consequential damages. Second, in a licensing

agreement, the object of the transaction is that the licensee will utilize the licensed


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property to profit in business subject to paying a portion of that profit in the form

of royalties. Cf. Bennett v. Associated Food Stores, Inc., 118 Ga. App. 711, 715, 165

S.E.2d 581, 585 (1968) (“Profits, as used in this context, is to mean ‘the gain which

the plaintiff would have made if he had been permitted to complete his contract.’”)

(quoting Wallace v. Tumlin & Stegall, 42 Ga. 462, 471 (1871)); see also Wallace, 42 Ga.

at 470–71 (“[O.C.G.A. § 13-6-8], speaking of the damages which are allowed for

breach of contract, includes the profits which are the immediate fruit of the

contract.”). In contrast, in a contract for goods, the object of the transaction is to

purchase goods for a given price. O.C.G.A. § 11-2-301 (“The obligation of the seller

is to transfer and deliver and that of the buyer is to accept and pay in accordance

with the contract.”). As such, Holiday Hospitality Franchising does not alter the basic

premise that in a contract for the sale of goods, lost profits and labor costs are

incidental or consequential damages.10 And as the Court discusses next, a contract

for the sale of goods may limit incidental or consequential damages.

      B.     Application and Enforceability of Exculpation of Consequential
             Damages

      Georgia’s UCC Article 2 permits parties to a sales contract to exculpate one

another from incidental or consequential damages. Specifically, O.C.G.A. § 11-2-




10 Similarly, Hydro Systems’ insistence that “FAS has waived any argument that

the contract’s damages limitation precludes any of Hydro Systems’[] damages
claims” is baseless. (Doc. 32 at 5).
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719(1)(a) provides for a general rule that a sales contract may limit the measure of

damages:

                   (a) The agreement may provide for remedies in
                   addition to or in substitution for those provided in
                   this article and may limit or alter the measure of
                   damages recoverable under this article, as by
                   limiting the buyer’s remedies to return of the
                   goods and repayment of the price or to repair and
                   replacement of nonconforming goods or parts
                   ....

(emphasis added). This general rule has two exceptions. First, “[w]here

circumstances cause an exclusive or limited remedy to fail of its essential purpose,

remedy may be had as provided” under Article 2 without regard to the limited

remedy provision. O.C.G.A. § 11-2-719(2). Second, and relevant here,

“[c]onsequential damages may be limited or excluded unless the limitation or

exclusion is unconscionable.” O.C.G.A. § 11-2-719(3). Georgia law provides a

presumption that “[l]imitation of consequential damages for injury to the person

in the case of consumer goods is prima facie unconscionable but limitation of

damages where the loss is commercial is not.” Id.

      The Proposal does not meet either exception to contractual exculpation.

Hydro Systems’ sole cursory argument that an exclusive “agreement to repair or

replace” fails of its essential purpose when there is a “refusal to remedy within a

reasonable time, or a lack of success in the attempts to remedy” relies on irrelevant



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case law governing when a breach of warranty arises.11 (Doc. 32 at 9 n.4) (quoting

Space Leasing Assocs. v. Atlantic. Bldg. Sys., Inc., 241 S.E.2d 438, 441 (Ga. Ct. App.

1977)). As the Court will explain below, there is a fact dispute as to whether FAS’s

further performance under the Proposal’s warranty was excused. The possibility

of an excuse defense does not negate the essential purpose of the Proposal.

      Moreover, Hydro Systems does not even attempt to argue that the

Proposal’s exculpatory clause is unconscionable. 12 It cannot seriously argue the

clause is procedurally unconscionable where it specifically negotiated that the

clause be reciprocal. (Doc. 1-1 at 11). And as the Supreme Court of Georgia has

explained with regard to substantive unconscionability, because the UCC

specifically provides for prima facie unconscionability in one circumstance, courts

should not presume a limitation of consequential damages in other circumstances

is substantively unconscionable. NEC Techs., Inc. v. Nelson, 478 S.E.2d 769, 771 (Ga.



11 Moreover, under the UCC, direct damages from a breach of warranty are
specifically delineated from incidental or consequential damages. O.C.G.A. § 11-
2-714 (providing that “[i]n a proper case any incidental and consequential
damages under Code Section 11-2-715 may also be recovered [in addition to the
measure of damages for breach of warranty].”).

12 “[C]ourts have generally divided the relevant factors into procedural and
substantive elements. . . . Procedural unconscionability addresses the process of
making the contract, while substantive unconscionability looks to the contractual
terms themselves.” NEC Techs., Inc. v. Nelson, 478 S.E.2d 769, 771 (Ga. 1996) (citing
UCC–Unconscionability Warranty Disclaimer, 38 A.L.R.4th 25, §§ 2, 3(a)(b)).

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1996) (“The Legislature could have provided that a limitation on consequential

property damages in the case of consumer goods is prima facie unconscionable, as

it did with consequential damages for personal injuries, but it chose not to do so.”).

Absent other evidence of substantive unconscionability, the Court must find that

the Proposal’s exculpatory clause is enforceable and applies to bar Hydro Systems’

claims for lost production, lost sales, wasted materials, increased labor costs, lost

time and productivity of Hydro Systems personnel; partial summary judgment as

requested by FAS is appropriate.13

II.    Hydro Systems’ Motion for Partial Summary Judgment

       Hydro Systems’ motion for partial summary judgment seeks a

determination that FAS breached the Proposal as a matter of law, and non-liability

for FAS’s counterclaim (Doc. 30-1 at 1–2, 13). However, for the reasons that follow,

the Court finds material fact disputes preclude summary judgment as to each of

these issues.




13 The Court notes that FAS’s partial motion for summary judgment does not

appear to argue that the limitation of liability under the Proposal should bar direct
damages under other sections of Article 2. O.C.G.A. §§ 11-2-714(2), -608(3), 711(1);
712. The Court assumes these are issues for trial.
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         A.   Hydro Systems’ Claims of Breach for Failure to Deliver
              Conforming Goods

         Hydro Systems first claims breach of contract for failure to deliver

conforming goods. The Proposal included a basis section listing the following

items:

              ➢ Each robot cell will be capable of bathtub models with
              maximum dimensions up to 36 inches wide by 72 inches
              long. For larger tubs, FAS must evaluate robot reach
              using the 3D models of each tub.

              ➢ As requested, our scope of work and pricing is based
              on programming twelve unique tub models. For
              reference, each of the three sizes within the Alamo family
              will require its own robot program.

              ➢ The sanding process will use three sandpaper grits of
              220, 400, and 1000.

              ➢ Gel coating will be manually applied after the sanding
              process and before the polishing process. FAS has no
              scope of work related to gel coat application.

              ➢ The polishing process will use two buffing
              compounds.

              ➢ Hydro Systems will provide 3D models for every tub
              to be programmed.

(Doc. 1-1 at 1). The scope of work summary excluded the following:

              Tub locating fixtures are not currently included in the
              scope of work/pricing. FAS will require 3D models of
              each tub in order to quote the tub fixtures.

              Parts introduced into each system must be consistent
              with an “ideal” or nominal part. Parts that are out- of-
              range will cause system faults and production stoppage.

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               These robot systems will process tubs to a more
               consistent finish in less time than manual labor, but there
               are no provisions for correcting issues from the molding
               process or repair/rework process.

(Id.). These exclusions were clarified in Appendix A, Rev. 4:

           • Gel coating not included within scope of work (“SOW”).
             Is Hydro going to be performing gel coating?

               Correct – Gel Coating is outside the scope of this
               project.

               ....

           • There are no provisions for correcting issues from the
             molding process or repair/rework process. What
             happens if there is an issue? Who is responsible for
             remedying the issue and who is liable for the cost?

               Quality issues from the molding or repair processes
               cannot be overcome by the sanding robot. These types
               of issues are outside our control and clearly not in our
               scope of work. Repairs need to meet Hydro Systems’
               quality standards before a tub is loading into the
               sanding robot system.

(Id. at 10).

       Hydro Systems contends that, setting aside any issue of delay, 14 FAS

materially breached the Proposal by failing to deliver conforming goods under the




14 Hydro Systems does not seek summary judgment on a delay theory. (Doc. 30-1

at 5 n.1) (“Although the parties disagree about the causes for FAS’s lengthy
production delay, this delay and its causes are not material to Hydro Systems’[]
claim here, as it is Hydro Systems’[] position that the robots still do not function
as promised, more than a year after the delayed delivery, and Hydro Systems is
not currently seeking a ruling that the delay itself breached the contract.”). Hydro
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Proposal, i.e. robots that “process tubs to a more consistent finish in less time than

manual labor.” (Doc. 30-1 at 12). The problem with this argument is that it is

riddled with underlying fact questions.

      First, “[n]onconformity is generally a question of fact for a jury.” Tuni Gap

Enters., LLC v. MarineMax E., Inc., No. 2:21-CV-20-RWS, 2022 WL 18459849, at *8

(N.D. Ga. Aug. 15, 2022) (citing Esquire Mobile Homes, Inc. v. Arrendale, 356 S.E.2d

250, 252 (Ga. Ct. App. 1987)). Mr. Pursley offered his testimony that Hydro

Systems’ Marketing Director Kenneth Steinhardt told him that “the sanding bot is

doing its job but the polishing bot is not,” but that in Mr. Pursley’s opinion “the

polishing robot delivered a consistent finish” such that FAS “fulfilled the

requirement of the Proposal.” (Pursley Aff. ¶¶ 53–54). Hydro Systems argues that

this affidavit is contradicted by the record, but that just creates a fact dispute.

Hydro Systems also argues that Mr. Pursley’s affidavit should not be accepted

because it is self-serving, but “an affidavit which satisfies Rule 56 of the Federal

Rules of Civil Procedure may create an issue of material fact and preclude

summary judgment even if it is self-serving and uncorroborated.” United States v.

Stein, 881 F.3d 853, 854 (11th Cir. 2018) (overruling cases to the contrary).




Systems also does not seek a ruling regarding the delay in programming. (Id. at 6
n.3).
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      Moreover, “where one party’s cooperation is necessary to the agreed

performance of the other but is not seasonably forthcoming, the other party in

addition to all other remedies . . . [i]s excused for any resulting delay in his own

performance.” O.C.G.A. § 11-2-311(3)(a); see also O.C.G.A. § 13-4-23 (“If the

nonperformance of a party to a contract is caused by the conduct of the opposite

party, such conduct shall excuse the other party from performance.”). FAS set

forth a number of arguments why Hydro Systems’ own actions led to any non-

conformity, (Doc. 33 at 15–16), including applying gel coating before sanding

instead of “after the sanding process and before the polishing process,”15 and these

create a fact dispute as to whether FAS’s obligation to deliver conforming goods

or seasonably cure a defect was excused. Cf. Madden v. Nat’l Life Ins. Co., No.

219CV168FTM38MRM, 2019 WL 4140954, at *3 (M.D. Fla. Aug. 30, 2019) (“The

issue of Madden’s cooperation with National Life’s claims investigation is a factual

issue that is premature at the motion to dismiss stage and if Madden failed to

timely notify National Life of her disability, it could be that such a failure was

excused under the circumstances.”). Hydro Systems’ claims that FAS waived its


15 Hydro Systems argues that the contract’s reference to gel coat being applied after

sanding does not preclude the possibility that gel coat would also be applied
before sanding (Doc. 44 at 7, 12 n.3), but accepting this argument requires the
Court to view the evidence in the light most favorable to Hydro Systems which
the Court cannot do on summary judgment. See O.C.G.A. § 13-2-1 (“The
construction of a contract is a question of law for the court. Where any matter of
fact is involved, the jury should find the fact.”).
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excuse defense or that the parties modified the Proposal to conform to the gel coat

by continuing to attempt to work with the gel coat, (Doc. 44 at 10–11), also raise

jury questions. Integrated Micro Sys., Inc. v. NEC Home Elecs. (USA), Inc., 329 S.E.2d

554, 559 (Ga. Ct. App. 1985).

      Finally, even assuming that the robots do not conform to the Proposal, to

determine whether Hydro Systems may mount a claim for breach of contract for

failure to deliver conforming goods (as opposed to a breach of warranty, discussed

in the next section), the Court must answer a series of questions: First, whether

Hydro Systems accepted the robots;16 and if so, second, whether non-conformity

substantially impaired value and either (a) acceptance was made on the reasonable

assumption that any non-conformity would be seasonably cured or (b) if Hydro



16 It is unclear from the briefing, but it appears that Hydro Systems is arguing that

because FAS allegedly never delivered “conforming” goods, it never had to accept
or reject the robots and therefore may mount a claim for non-delivery without
regard to whether it either (a) rejected within a reasonable time after delivery, (b)
accepted on assumption of cure, or (c) may revoke acceptance for latent non-
conformity. (Doc. 30-1 at 12) (“FAS has failed to perform its most basic obligation
under the contract. In the Proposal, FAS specified that it would provide robots that
could polish and sand tubs ‘to a more consistent finish in less time than manual
labor.’”). The Court does not interpret the UCC to provide this remedy. While
“[t]ender of delivery requires that the seller put and hold conforming goods at the
buyer’s disposition,” O.C.G.A. § 11-2-503(1), and “[t]ender of delivery is a
condition to the buyer’s duty to accept the goods,” O.C.G.A. § 11-2-507(1), the UCC
recognizes that an improper tender may be cured, O.C.G.A. § 11-2-507, or even
accepted, O.C.G.A. § 11-2-601. Because it is undisputed that FAS made some
delivery of goods under the Proposal, the proper analysis is to determine whether
rejection, acceptance, or revocation properly occurred.
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Systems later discovered non-conformity, it notified the FAS of any breach within

a reasonable time after it was discovered or should have been discovered; and if

either or both are true, third, whether the non-conformity was not seasonably

cured and if applicable whether revocation of acceptance thereafter occurred

within a reasonable time. O.C.G.A. §§ 11-2-606 to -608, -714; see also O.C.G.A. §§

11-2-608(3) (timely revocation equivalent to rejection), -508(2) (seller may cure

rightly rejected tender after reasonable time in certain circumstances). All of these

questions are generally considered jury issues. Griffith v. Stovall Tire & Marine, Inc.,

329 S.E.2d 234, 236 (Ga. Ct. App. 1985) (“It is true that issues such as whether an

effective revocation of acceptance was made, whether reasonable notice of

revocation was given to the seller, and whether the value of the goods was

substantially impaired are ordinarily matters for determination by the trior of fact,

even where the buyer has continued to use nonconforming goods after an alleged

revocation of acceptance.”) (citing Trailmobile Div. of Pullman v. Jones, 164 S.E.2d

346 (Ga. Ct. App. 1968); Jacobs v. Metro Chrysler-Plymouth, 188 S.E.2d 250 (Ga. Ct.

App. 1972); Hub Motor Co. v. Zurawski, 278 S.E.2d 689 (Ga. Ct. App. 1981)); Tuni

Gap Enters., 2022 WL 18459849, at *10 (“To have rightfully revoked its acceptance,

[buyer] must have accepted the Boat either knowing of the nonconformity and

reasonably assuming that it would be cured or without knowing of the

nonconformity and accepting it because of the difficulty of discovering it . . . . [and]

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what the buyer knew is ordinarily a question of fact for the jury.”) (citing Griffith,

329 S.E.2d at 236–37); Car Transp. Brokerage Co. v. Blue Bird Body Co., 322 F. App’x

891, 897 (11th Cir. 2009) (“Although the statutory opportunity to ‘seasonably cure’

does not entitle a seller to unlimited attempts to cure a defect, it does require a

buyer to provide a seller with a reasonable time in which to attempt to make

repairs. . . . What constitutes a reasonable time in which to cure depends on the

nature, purpose, and circumstances of a particular case.”) (citing O.C.G.A. § 11-1-

205(2), (3)). Accordingly, fact disputes preclude a determination that FAS breached

the Proposal by failing to deliver conforming goods.

      B.     Hydro Systems’ Claims of Breach for Breach of Warranty

      Hydro Systems makes similar arguments as to its claim for breach of

warranty. Georgia law provides the following with respect to express warranties:

             (1) Express warranties by the seller are created as
             follows:

                    (a) Any affirmation of fact or promise made by the
                    seller to the buyer which relates to the goods and
                    becomes part of the basis of the bargain creates an
                    express warranty that the goods shall conform to
                    the affirmation or promise.

                    (b) Any description of the goods which is made
                    part of the basis of the bargain creates an express
                    warranty that the goods shall conform to the
                    description.

             ....



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O.C.G.A. § 11-2-313. “Warranties whether express or implied shall be construed

as consistent with each other and as cumulative, but if such construction is

unreasonable the intention of the parties shall determine which warranty is

dominant.” O.C.G.A. § 11-2-317.

      A buyer who has accepted goods may nonetheless bring suit for breach of

warranty. O.C.G.A. § 11-2-714(2). “The measure of damages for breach of warranty

is the difference at the time and place of acceptance between the value of the goods

accepted and the value they would have had if they had been as warranted, unless

special circumstances show proximate damages of a different amount.” Id.

      For the same reasons that the Court could not reach summary judgment as

to whether the robots were non-conforming goods, the Court cannot determine

whether the robots conformed to the description warranted in the Proposal. See

Horne v. Claude Ray Ford Sales, Inc., 290 S.E.2d 497, 499 (Ga. Ct. App. 1982)

(questions of breach of warranty are for jury). Similarly, the Court cannot

determine whether any duty to repair or replace set forth in the contract was

excused by Hydro Systems’ own conduct with respect to its manufacturing

processes and if that excuse was somehow waived or modified by continued

performance.




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       C.     FAS’s Counterclaims

       FAS’s Counterclaim contains three counts: Count I for Breach of Contract

for “failing to pay FAS for the services rendered pursuant to the contract and

failing to perform material terms of the contract, including but not limited to, the

obligation to create reasonable final acceptance criteria for the project”; Count II

Breach of Covenant of Good Faith and Fair Dealing; and Count III for Quantum

Meruit as well as two counts for attorney’s fees. (Doc. 9 ¶¶ 39–54).

       Hydro Systems seeks summary judgment on Count I and II on the grounds

of non-breach. (Doc. 30-1 at 19). It also points out that “there is no independent

cause of action for violation of the covenant [of good faith] apart from breach of

an express term of the contract.” (Id.) (quoting Morrell v. Wellstar Health Sys., Inc.,

633 S.E.2d 68, 72 (Ga. Ct. App. 2006)); see also Stuart Enters. Int’l, Inc. v. Peykan, Inc.,

555 S.E.2d 881, 884 (Ga. Ct. App. 2001) (“In contracts governed by the UCC, the

failure to act in good faith in performing a contract does not create an independent

cause of action.”).

       On the question of non-payment, Hydro Systems raises two arguments.

First, that under the Proposal, the contractual milestones requiring payments were

never reached. (Doc. 30-1 at 21) (“The remaining balance on the contract price is

not outstanding because it never became due under the plain terms of contract,

which call for 10% of the purchase price within thirty days of the “[c]ompletion of


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FAT at FAS,” and another 10% within thirty days of the “[c]ompletion of [s]tart-

up at Hydro Systems’ facility,” which was “not to exceed 30 days from

shipment.”). But whether and when FAT was completed or waived is a fact

dispute and whether Hydro Systems’ own failure to cooperate in providing

samples and conforming the gel coat to the Proposal excused completion of

performance at Hydro Systems’ facility are both fact disputes.

      Also, as explained below FAS argues that Hydro Systems’ own breach in

failing to create final acceptance criteria excused the condition precedent of

completion of start-up at the facility. (Doc. 33 at 23) (citing Ga. 20 Props. LLC v.

Tanner, 564 S.E.2d 459, 462 (Ga. Ct. App. 2002) (“A party cannot avoid the

obligations of a contract by frustrating the performance of a condition

precedent.”); cf. also O.C.G.A. §§ 11-2-311(3) (providing for excuse for lack of

cooperation), -615 (“Delay in delivery or nondelivery in whole or in part by a seller

. . . is not a breach of his duty under a contract for sale if performance as agreed

has been made impracticable by the occurrence of a contingency the

nonoccurrence of which was a basic assumption on which the contract was made

. . . .”). Moreover, even if FAS could not maintain an action for the purchase price

on the grounds that the price has not “become[] due,” the seller can “nevertheless

be awarded damages for nonacceptance” after “the buyer has wrongfully rejected

or revoked acceptance.” O.C.G.A. § 11-2-709(1), (2) (citing O.C.G.A. § 11-2-708).

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Here, whether Hydro Systems accepted the robots subject to seasonable cure

and/or properly revoked acceptance is an issue of fact as set forth above.

      Similarly, Hydro Systems’ second argument, that payment of the purchase

price is excused when a seller fails to deliver conforming goods pursuant to

O.C.G.A. §§ 11-2-507(1), -508, is bound up in the question of whether it accepted

the robots subject to seasonable cure and/or properly revoked acceptance, as

“[t]he buyer must pay at the contract rate for any goods accepted.” O.C.G.A. § 11-

2-607(1). Lastly, to the extent that Hydro Systems contends it is entitled to “deduct

all or any part of the damages resulting from any breach of the contract from any

part of the price still due under the same contract,” O.C.G.A. § 11-2-717, this too is

bound up in the fact disputes precluding its own breach claim. And Hydro

Systems is not entitled to summary judgment on damages, because at a minimum

there is a fact dispute as to whether FAS is entitled to the balance of the contract

as set forth above.

      Lastly, Hydro Systems is entitled to summary judgment on Count III for

Quantum Meruit. In its Response Brief, FAS argues that it provided services not

contemplated by the Proposal. (Doc. 33 at 24). In a hybrid transaction

predominated by the sale of goods, the UCC “does not preclude application in

appropriate circumstances of other law to aspects of the transaction which do not

relate to the sale of goods.” O.C.G.A. § 11-2-102(2)(b). Moreover, “[u]nless

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displaced by the particular provisions of this title, the principles of law and

equity. . . shall supplement its provisions.” O.C.G.A. § 11-1-103(b). Under Georgia

general contract law, the general rule is “no recovery may be had in quantum

meruit when a contract governs all claimed rights and responsibilities of the

parties,” but “a party to a contract who accepts valuable services in excess of those

contemplated in the contract may be liable to pay for such services if they are

necessary to complete the contract.” Bollers v. Noir Enters., Inc., 677 S.E.2d 338, 341–

42 (Ga. Ct. App. 2009) (citing Choate Constr. Co. v. Ideal Elec. Contractors, 541 S.E.2d

435 (Ga. Ct. App. 2000)).

        However, Hydro Systems is correct that the Proposal already governs extra

work:

              Onsite Startup
              For both robot cells, FAS has included a total of 300 man-
              hours of installation supervision and startup assistance
              at Hydro Systems. All startup assistance is based on
              work being performed on a continuous basis and during
              normal Factory Automation Systems working hours
              with one mobilization to the job site. Additional time or
              mobilizations to the job site are available on an as
              needed basis at Factory Automation Systems’ standard
              hourly rates.

              ...

              4) EXTRA WORK AND CHANGES IN SCOPE: All
              changes to the basis of the proposal which affect
              quantities, types or configuration of hardware or which
              affect the engineering and design responsibilities or
              other labor requirements are to be submitted in writing

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             to Factory Automation Systems for prior pricing and are
             to be approved by the Purchaser in wiring before such
             changes are incorporated into the order. Pricing of
             changes shall be based on pricing in effect at the time of
             the change.

(Doc. 1-1 at 5, 8). Thus, partial summary judgment on this claim is appropriate.

                                     Conclusion

      As the above opinion explains, this case involves a lot of moving parts (no

pun is intended). Trying this case to a jury will pose a number of complexities,

both in terms of demonstrating conformity to the Proposal and in navigating the

various UCC provisions at issue. The Court advises the parties to again attempt

mediation.

      For the above reasons, it is

      ORDERED that Defendant and Counterclaim Plaintiff’s Motion for Partial

Summary Judgment (Doc. 29) is GRANTED. It is

      FURTHER ORDERED that Plaintiff and Counterclaim Defendant’s Motion

for Partial Summary Judgment (Doc. 30) is GRANTED IN PART as to Count III

of the Counterclaim and DENIED IN PART in all other respects. It is




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      FURTHER ORDERED that the Parties are DIRECTED to submit a

proposed consolidated pretrial order within 28 days of the date of entry of this

Order. If the parties intend to mediate this dispute, they may obtain a stay of this

deadline by contacting the Court’s courtroom deputy.

      SO ORDERED this 10th day of March, 2025.


                                             _                                   _
                                             Victoria Marie Calvert
                                             United States District Judge




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